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 1   David Harold Moore
     2767 Cherrydale Falls Drive
 2   Henderson, NV 89052
     Telephone: (702) 492-0493
 3   E-mail: kellerlitigation@gmail.com
     Defendant in propria persona
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 7
                              UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
 9                               SAN FRANCISCO DISTRICT

10
        Steep Hill Laboratories, Inc.                    Case No. 3:18-cv-00373-LB
11
                   et. al.                               NOTICE OF MOTION AND MOTION
12                                                       TO ENTER MONEY JUDGMENT
                   Plaintiffs,                           PURSUANT TO SETTLEMENT
13                                                       AGREEMENT
                   v.
14      David Harold Moore,                              Date:       January 30, 2020
15                                                       Time:       9:30 a.m.
                   Defendant.                            Room:       Courtroom C - Floor 15
16                                                                   450 Golden Gate Ave.
                                                                     San Francisco, CA 94102
17
                                                         Judge:      Hon. Laurel Beeler
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21                               NOTICE OF MOTION AND MOTION

22          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
23          Please take notice that on January 30, 2020, at 9:30 a.m. at the above-captioned Court, or
24   as soon thereafter as the matter may be heard, I, defendant and counter-claimant David Harold
25   Moore, will and hereby do move before the Honorable Magistrate Judge Laurel Beeler for an
26   order entering a money judgment on the basis of the on-the-record settlement agreement reached
27   on April 4, 2019 and entering judgment on the basis of that settlement agreement.

                                                                  MOTION TO ENTER JUDGMENT PURSUANT
                                                                           TO SETTLEMENT AGREEMENT
                                                                            CASE NO. 3:18-CV-00373-LB
       Case 3:18-cv-00373-LB Document 115 Filed 12/24/19 Page 2 of 4



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 2
     Dated: December 24, 2019                 By: /s/ David Harold Moore
 3                                                David Harold Moore
 4                                            Defendant and Counterclaimant
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                                                       MOTION TO ENTER JUDGMENT PURSUANT
                                          2                     TO SETTLEMENT AGREEMENT
                                                                 CASE NO. 3:18-CV-00373-LB
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2          On April 4, 2019, the parties agreed to a settlement agreement, of which the terms are

 3   confidential. See ECF No. 92. However, I have over the past few months made numerous

 4   attempts to call counsel for Plaintiffs and otherwise communicate with them regarding the

 5   signing and implementation of the settlement agreement. They will not return my phone calls

 6   and refuse to enter into joint case management statements. As such, I would like to obtain a

 7   judgment memorializing the monetary part of the settlement agreement so that the judgment

 8   may be enforced, the amount contained on page 3, line 11 of the transcript of the settlement

 9   discussion.

10          However, I am unsure as to the extent of the confidentiality agreement, and would not

11   want to breach it by disclosing the amount publicly. As such, I am requesting that the court

12   summarily enforce the settlement agreement by entering a money judgment as called for in the

13   on-the-record settlement or, in the alternative, clarify the scope of the confidentiality clause to

14   allow me to move for entry of judgment on the specific amount.

15          I will provide a proposed judgment if the Court clarifies that I am allowed to do so by the

16   terms of the confidentiality clause.

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     Dated: December 24, 2019                           By: /s/ David Harold Moore
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                                                              David Harold Moore
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                                                           Defendant and Counterclaimant
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                                                                    MOTION TO ENTER JUDGMENT PURSUANT
                                                       3                     TO SETTLEMENT AGREEMENT
                                                                              CASE NO. 3:18-CV-00373-LB
        Case 3:18-cv-00373-LB Document 115 Filed 12/24/19 Page 4 of 4



 1                                            DECLARATION
 2   I, David Harold Moore, declare as follows:

 3          1.      I am over 18 years old and I make this declaration on the basis of my personal

 4   knowledge of the facts set forth below, with the exception of whichever facts may be stated on

 5   information and belief. Nonetheless, I believe those facts to be true. If called upon to testify, I

 6   could and would testify competently in support of each and every single fact stated herein.

 7          2.      I am the self-represented plaintiff in this case, and write and file this declaration in

 8   support of the attached motion.

 9          3.      Pursuant to Civil Local Rule 7-5(a), I declare that all factual contentions made in

10   support of my attached motion are true and correct.

11          4.      I declare under penalty of perjury under the laws of the United States that the

12   foregoing is true and correct.

13
     Dated: December 24, 2019                           By: /s/ David Harold Moore
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                                                              David Harold Moore
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                                                            Defendant and Counterclaimant
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                                                                     MOTION TO ENTER JUDGMENT PURSUANT
                                                        4                     TO SETTLEMENT AGREEMENT
                                                                               CASE NO. 3:18-CV-00373-LB
